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16·   · · · · · ·Monday, February 19, 2018                        16
· ·   · · · · · · · · · ·1:01 p.m.
17                                                                17
18·   ·   ·   ·   ·   ·   ·   The Goldson Law Office              18
· ·   ·   ·   ·   ·   ·   ·   · · 1734 Elton Road                 19
19·   ·   ·   ·   ·   ·   ·   · · · ·Suite 210
· ·   ·   ·   ·   ·   ·   ·   Silver Spring, Maryland             20
20                                                                21
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·1·   · · · · · · APPEARANCES OF COUNSEL                          ·1· · · · · · · · P R O C E E D I N G S
·2
·3·   ·For the Plaintiff:                                         ·2
·4·   · ·THE GOLDSON LAW OFFICE
· ·   · ·INGMAR B. GOLDSON, ESQ.
                                                                  ·3· · · · · · · · · CRYSTAL M. LONG,
·5·   · ·COURTNEY WEINER, ESQ.                                    ·4· · having been first duly sworn, testified as
· ·   · ·1734 Elton Road
·6·   · ·Suite 210                                                ·5· · follows:
· ·   · ·Silver Spring, MD 20903                                  ·6
·7·   · ·T-240.780.8829
· ·   · ·E-igoldson@goldsonlawoffice.com                          ·7· · · · · · · · · · ·EXAMINATION
·8
·9·   ·For the Defendant Ability Recovery                         ·8· ·BY MR. METCHO:
· ·   ·Services, LLC:                                             ·9· · · ·Q.· · You ready?
10
· ·   ·   ·MARSHALL, DENNEHEY, WARNER, COLEMAN                    10· · · · · · ·Good afternoon, Ms. Long.· My name
11·   ·   ·& GOGGIN
· ·   ·   ·RONALD M. METCHO, II
                                                                  11· ·is Ron Metcho.· I'm with the law firm of
12·   ·   ·2000 Market Street                                     12· ·Marshall, Dennehey, Warner, Coleman & Goggin.
· ·   ·   ·Philadelphia, PA 19103
13·   ·   ·T-215.575.2595                                         13· ·I represent an entity by the name of Ability
· ·   ·   ·E-rmetcho@mdwcg.com
                                                                  14· ·Recovery Services LLC in a lawsuit that has
14
15·   ·For the Defendant Pendrick Capital                         15· ·been filed in the United States District Court
· ·   ·Partners II, LLC:
16                                                                16· ·for the District of Maryland.· Alongside me
· ·   ·   ·SESSIONS, FISHMAN, NATHAN & ISRAEL                     17· ·here is Morgan Marcus, who represents Pendrick
17·   ·   ·MORGAN I. MARCUS, ESQ.
· ·   ·   ·120 South LaSalle Street                               18· ·Capital Partners, who is the creditor at issue
18·   ·   ·Suite 1960
· ·   ·   ·Chicago, IL 60603
                                                                  19· ·in this particular matter.· And I'd like to
19·   ·   ·T-312.578.0990                                         20· ·thank you for being here today.
· ·   ·   ·E-mmarcus@sessions.legal
20                                                                21· · · · · · ·You know, I know that Mr. Marcus
21
                                                                  22· ·needs to get on a flight at approximately
22


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·1· ·4 o'clock, so we'll try to streamline this as     ·1· · · ·A.· · No.
·2· ·much as we can and move this along, okay?         ·2· · · ·Q.· · Okay.· So what we're going to do
·3· · · · · · ·So just to give you a roadmap of        ·3· ·today is we're going to ask a series of
·4· ·what we're going to do today, I'd just like to    ·4· ·questions, again, regarding the allegations in
·5· ·get some background information on you, we're     ·5· ·your complaint, the allegations against my
·6· ·going to discuss the allegations in your          ·6· ·client, and also against Pendrick.· We do not
·7· ·complaint, we're going to talk some about your    ·7· ·have representatives of the other two remaining
·8· ·employment, also about your credit history, and   ·8· ·defendants, Experian and Equifax here, so you
·9· ·then just some follow-up questions by Mr.         ·9· ·know, we'll leave it that.· Again, this is your
10· ·Marcus as well pertaining to the allegations      10· ·first instance in sitting in a deposition?
11· ·against his client?                               11· · · ·A.· · That's correct.
12· · · · · · ·MR. GOLDSON:· Has Pendrick actually     12· · · ·Q.· · So what I'd like to ask you to do is
13· ·noticed --                                        13· ·listen to the full question I ask you, give
14· · · · · · ·Has Pendrick noticed for this           14· ·your counsel an opportunities to object if it's
15· ·deposition?                                       15· ·necessary, and then provide a complete answer
16· · · · · · ·MR. MARCUS:· Do you have issues with    16· ·to the questions.· What we don't want to do
17· ·Pendrick asking --                                17· ·is --
18· · · · · · ·-- with my asking follow-up             18· · · · · · ·We want to have a complete record
19· ·questions?· I guess I can notice a separate       19· ·for the Court, so please refrain from saying
20· ·deposition for her, but I thought it would be     20· ·such things as "uh-huh" and "yes" and "no"
21· ·unnecessary.                                      21· ·answers and complete answers to the best of
22· · · · · · ·MR. GOLDSON:· I don't know if           22· ·your ability, okay?

                                             Page 6                                                   Page 8
·1· ·it's --                                           ·1· · · · · · ·What is your current address?
·2· · · · · · ·MS. WEINER:· Well, we are, you know,    ·2· · · ·A.· ·
·3· ·dismayed by the lack of compliance with                                                       Maryland,
·4· ·procedure, but it seems to me that it's --        ·4· ·
·5· · · · · · ·MR. GOLDSON:· It's fine.                ·5· · · ·Q.· · How long have you lived there?
·6· · · · · · ·MS. WEINER:· -- it's fine, but          ·6· · · ·A.· · 5 years.
·7· ·perhaps in the future you should follow the       ·7· · · ·Q.· · Do you own or rent the space?
·8· ·Rules of Civil Procedure.                         ·8· · · ·A.· · I own.
·9· · · · · · ·MR. GOLDSON:· All right.                ·9· · · ·Q.· · Okay.· How much is approximately
10· · · · · · ·MR. METCHO:· So, is it okay if --       10· ·your mortgage payment monthly?
11· · · · · · ·MR. GOLDSON:· Yeah, it's fine.          11· · · ·A.· · 1933.
12· ·BY MR. METCHO:                                    12· · · ·Q.· · Are you married?
13· · · ·Q.· · Okay.· Very good.· Let's get back on    13· · · ·A.· · No.
14· ·track here.                                       14· · · ·Q.· · Do you have any children?
15· · · · · · ·Ms. Long, please state your full        15· · · ·A.· · No.
16· ·name for the record, please.                      16· · · ·Q.· · Have you ever been married?
17· · · ·A.· · Crystal Michelle Long.                  17· · · ·A.· · No.
18· · · ·Q.· · Okay.· Have you ever been deposed       18· · · ·Q.· · What's your current telephone
19· ·before?                                           19· ·number?
20· · · ·A.· · No.                                     20· · · ·A.· ·          8476.
21· · · ·Q.· · Have you ever been involved in a        21· · · ·Q.· · Do you have any dependents?
22· ·lawsuit before?                                   22· · · ·A.· · No.


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·1· · · ·Q.· · Do you live alone?                    ·1· · · · · · ·This was not the place of employment
·2· · · ·A.· · Yes.                                  ·2· ·that you were at in regards to the allegations
·3· · · ·Q.· · Just a little bit about your          ·3· ·in your complaint.· Is that correct?
·4· ·educational background.· What's your highest    ·4· · · ·A.· · I don't understand your question.
·5· ·level of education?                             ·5· · · ·Q.· · In your complaint you allege that
·6· · · ·A.· · Master's degree.                      ·6· ·you were employed at a certain place between
·7· · · ·Q.· · Where did you get your Master's       ·7· ·roughly November of 2016 through May of 2017.
·8· ·degree from?                                    ·8· · · ·A.· · Yes.
·9· · · ·A.· · Walden University, W-A-L-D-E-N.       ·9· · · ·Q.· · This was a different --
10· · · ·Q.· · And what is the Master's degree in?   10· · · ·A.· · That's Trusted Health Plans Inc.
11· · · ·A.· · Business.                             11· · · ·Q.· · You were at the same place?
12· · · ·Q.· · I'm assuming you have an              12· · · ·A.· · Yes.
13· ·undergraduate degree obviously?                 13· · · ·Q.· · Okay.· And what do you do at Trusted
14· · · ·A.· · I do.                                 14· ·Plans Inc?
15· · · ·Q.· · And where is that from?               15· · · ·A.· · I am the Director of Health Plan
16· · · ·A.· · Bowie State University.               16· ·Accounting.· I run the finance department.
17· · · ·Q.· · And what is your undergraduate        17· · · ·Q.· · Can you describe what your daily
18· ·degree in?                                      18· ·activities of your work are.
19· · · ·A.· · Business.                             19· · · ·A.· · That would include overseeing the
20· · · ·Q.· · Where did you go to high school?      20· ·staff accountants, the temps, closing the
21· · · ·A.· · Jenks High School.                    21· ·books, approving financial transactions, and
22· · · ·Q.· · And where is that located?            22· ·reviewing staff accountants' work.

                                          Page 10                                                Page 12
·1· · · ·A.· · Jenks, Oklahoma.                      ·1· · · ·Q.· · What do you mean by "closing the
·2· · · ·Q.· · How long did you live in Oklahoma?    ·2· ·books"?
·3· · · ·A.· · Um, let's see.· From 3rd grade to     ·3· · · ·A.· · That would include ensuring that the
·4· ·senior high school.· I'm not sure how old you   ·4· ·bank reconciliations are reconciled, that
·5· ·are in when you're in 3rd grade.                ·5· ·includes approving payments, that includes
·6· · · ·Q.· · When did you relocate to --           ·6· ·reviewing invoices for approval, that includes
·7· · · · · · ·Excuse me.· When do you move to       ·7· ·issuing financial statements.
·8· ·Maryland from Oklahoma?                         ·8· · · ·Q.· · Issuing financial statements to
·9· · · ·A.· · 1999.                                 ·9· ·whom?
10· · · ·Q.· · And what was the reason for the       10· · · ·A.· · To the CFO to be presented to the
11· ·move?                                           11· ·Board of Directors.
12· · · ·A.· · To attend college.                    12· · · ·Q.· · And how long have you been at this
13· · · ·Q.· · Okay.· Who's your current employer?   13· ·place of employment?
14· · · ·A.· · Trusted Health Plans Inc.             14· · · ·A.· · A year and 5 months.
15· · · ·Q.· · Can you spell that, please?           15· · · ·Q.· · When you first began at this place
16· · · ·A.· · T-R-U-S-T-E-D, Plans, P-L-A-N-S,      16· ·of employment what was your original position?
17· ·Inc.                                            17· · · ·A.· · Senior Account Manager.
18· · · ·Q.· · And how long have you been at this    18· · · ·Q.· · Have you had the same position at
19· ·place of employment?                            19· ·this place of employment throughout your entire
20· · · ·A.· · A year and 5 months.                  20· ·employment?
21· · · ·Q.· · Okay.· Now was this the place of      21· · · ·A.· · I'm not sure of your question.· Can
22· ·employment --                                   22· ·you repeat it.


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·1· · · ·Q.· · Sure.· When you began working this      ·1· · · ·A.· · What I am aware of is that I signed
·2· ·job have you had different positions throughout   ·2· ·an agreement indicating that I gave them
·3· ·your employment?                                  ·3· ·permission to review my credit.
·4· · · ·A.· · Yes.                                    ·4· · · ·Q.· · And are you aware of them ever
·5· · · ·Q.· · Can you please tell me about each       ·5· ·checking your credit score?
·6· ·one of your positions of employment.              ·6· · · ·A.· · I can't speak to what the HR
·7· · · ·A.· · I was the Senior Account Manager --     ·7· ·department does.· All I can say is that I've
·8· · · ·Q.· · Let's step back a second.· When you     ·8· ·given them permission to do so.
·9· ·first started what was your employment            ·9· · · ·Q.· · Are you personally aware of your
10· ·position?                                         10· ·employer ever checking your credit score?
11· · · ·A.· · Senior Account Manager.                 11· · · · · · ·MR. GOLDSON:· Objection.
12· · · ·Q.· · Okay.· And what was your next           12· · · · · · ·MR. METCHO:· On what basis?
13· ·employment position?                              13· · · · · · ·MR. GOLDSON:· Asked and answered.
14· · · ·A.· · Acting Controller.                      14· · · · · · ·MR. METCHO:· I don't believe the
15· · · ·Q.· · What did you do as the Senior           15· ·question was answered.· You can --
16· ·Account Manager?                                  16· · · · · · ·The objection is noted on the
17· · · ·A.· · I oversaw the payroll AP clerk, I       17· ·record.
18· ·created journal entries, I did bank               18· · · · · · ·You can answer the question if
19· ·reconciliations.                                  19· ·you're able.
20· · · ·Q.· · Okay.· And to your second position,     20· · · · · · ·THE WITNESS:· Can you repeat the
21· ·what did you do under that position?              21· ·question.
22· · · ·A.· · I then oversaw the staff accountants    22· ·BY MR. METCHO:
                                            Page 14                                               Page 16
·1· ·and the senior accountants when they were         ·1· · · ·Q.· · Sure.· Are you personally aware of
·2· ·there, and issued the financial statements.       ·2· ·your employer ever checking your credit score?
·3· · · ·Q.· · And I'm a bit confused about you've     ·3· · · ·A.· · That is a question I cannot answer.
·4· ·stated several times "issuing financial           ·4· ·I do not work in the HR department.
·5· ·statements".· Can you delve a little bit more     ·5· · · ·Q.· · Are you aware of your employer
·6· ·into that.· What that actually entails.           ·6· ·having a policy and procedure in place
·7· · · ·A.· · Preparing financial statements for      ·7· ·regarding checking your credit score or your
·8· ·the CFO to review.                                ·8· ·credit reputation?
·9· · · ·Q.· · And what type of information is in      ·9· · · ·A.· · I cannot speak to the policies of
10· ·these financial statements?                       10· ·HR.· What I can speak to is that upon
11· · · ·A.· · Information that you would find on a    11· ·employment I gave them --
12· ·balance sheet, income statement, cash flow.       12· · · · · · ·-- I signed a document, gave them
13· · · ·Q.· · How often do you prepare them?          13· ·permission.
14· · · ·A.· · Monthly.                                14· · · ·Q.· · Permission for what?
15· · · ·Q.· · Does your employer check your credit    15· · · ·A.· · To access necessary information,
16· ·score regularly?                                  16· ·including my background check.
17· · · ·A.· · I can't answer that question. I         17· · · ·Q.· · Do you have this documentation?
18· ·don't --                                          18· · · ·A.· · No, I do not.
19· · · · · · ·I'm not privy to what HR does on a      19· · · ·Q.· · Do you know who has the
20· ·regular basis.                                    20· ·documentation?· Does your employer have this
21· · · ·Q.· · Are you aware of your employer ever     21· ·documentation?
22· ·checking your credit score?                       22· · · · · · ·MR. GOLDSON:· Objection.


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·1· · · · · · ·MR. METCHO:· On what basis?           ·1· ·the option to see, so I clicked.
·2· · · · · · ·MR. GOLDSON:· You're asking her a     ·2· · · ·Q.· · How often do you do that?
·3· ·question about another entity, not a personal   ·3· · · ·A.· · It depends.
·4· ·knowledge.                                      ·4· · · ·Q.· · When was the last time prior to that
·5· · · · · · ·MR. METCHO:· We're in Federal Court.  ·5· ·that you checked your credit score?
·6· ·There are two objections.· There's one to       ·6· · · ·A.· · I can't give you a definitive date.
·7· ·privilege, and this is not a privileged matter. ·7· · · ·Q.· · Do you have an approximate date?
·8· · · · · · ·MR. GOLDSON:· Uh-huh.                 ·8· · · ·A.· · Approximately --
·9· · · · · · ·MR. METCHO:· So again, I'll note the  ·9· · · · · · ·Approximately a month prior.
10· ·objection for the record.                       10· · · ·Q.· · When was the last time you applied
11· · · · · · ·You can answer if you're able.        11· ·for credit?
12· · · · · · ·THE WITNESS:· Can you repeat the      12· · · ·A.· · I can't recall.
13· ·question.                                       13· · · ·Q.· · How many credit cards do you have?
14· ·BY MR. METCHO:                                  14· · · ·A.· · I have three personal credit cards.
15· · · ·Q.· · Sure.· Are you aware of your          15· · · ·Q.· · Who are the credit cards with?
16· ·employer having a policy and procedure in place 16· · · ·A.· · Chase, um, Barclay, and Sealy's
17· ·regarding the checking of your credit score?    17· ·Furniture something.· S-E-L-E-Y, I believe.
18· · · ·A.· · I don't have enough information to    18· · · ·Q.· · Do you have balances on these cards?
19· ·answer that question.· What I can say is that   19· · · ·A.· · One.
20· ·upon hiring I filled out a document indicating  20· · · ·Q.· · What's the current balance on the
21· ·that I gave them permission to do a background 21· ·Chase card?
22· ·check.                                          22· · · ·A.· · Zero.
                                             Page 18                                              Page 20
·1· · · ·Q.· · What did the background check           ·1· · · ·Q.· · Barclay's card?
·2· ·entail?                                           ·2· · · ·A.· · Zero.
·3· · · ·A.· · I can't speak to that.· All I know      ·3· · · ·Q.· · The Sealy's card?
·4· ·is that I had to fill out information             ·4· · · ·A.· · No.· I'm sorry.· Sealy's --
·5· ·indicating that they could access my              ·5· · · · · · ·-- or Barclay's about maybe 7200.
·6· ·information.· I provided my Social Security       ·6· · · ·Q.· · What are your monthly payments on
·7· ·Number.                                           ·7· ·the Sealy's card?
·8· · · ·Q.· · When is the last time you checked       ·8· · · ·A.· · The Sealy's is paid for.· It doesn't
·9· ·your credit score?                                ·9· ·have a balance.
10· · · ·A.· · The last time I checked my credit       10· · · ·Q.· · Okay.· Which account do you have a
11· ·score probably was maybe a couple weeks ago.      11· ·balance on?
12· · · ·Q.· · Why did you check it?                   12· · · ·A.· · Barclay.
13· · · ·A.· · Why did I check my credit score?        13· · · ·Q.· · Okay.· The Barclay's account.· When
14· · · ·Q.· · Yeah.                                   14· ·is the last time you made a payment?
15· · · ·A.· · Because it was an option on my          15· · · ·A.· · Maybe a week and a half ago.
16· ·credit reporting.                                 16· · · ·Q.· · And how much was the payment for?
17· · · ·Q.· · Option on your credit reporting?        17· · · ·A.· · $500.
18· · · ·A.· · Yes.                                    18· · · ·Q.· · Do you make monthly payments?
19· · · ·Q.· · What does that mean?                    19· · · ·A.· · I do.
20· · · ·A.· · That means that when I log into my      20· · · ·Q.· · How do you pay it?· Do you pay it
21· ·financial information they let me know if         21· ·online?· Do you pay it by check?
22· ·there's any changes to my credit, and I have      22· · · ·A.· · I pay it online through my banking


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·1· ·institution.                                      ·1· ·good character, is also a reflection of your
·2· · · ·Q.· · Okay.· Do you have student loans?       ·2· ·credit.· So when I completed, signed the form
·3· · · ·A.· · I do.                                   ·3· ·for the background check, that is my
·4· · · ·Q.· · Approximately how much are your         ·4· ·understanding that that is how they measure.
·5· ·student loans that are outstanding?               ·5· · · ·Q.· · Have you ever discussed your credit
·6· · · ·A.· · Collectively I would say about          ·6· ·history with your employer?
·7· ·63,000.                                           ·7· · · ·A.· · No.
·8· · · ·Q.· · Do you pay those monthly?               ·8· · · ·Q.· · Has your employer ever questioned
·9· · · ·A.· · I do.                                   ·9· ·your credit history?
10· · · ·Q.· · How much do you pay a month?            10· · · ·A.· · No.
11· · · ·A.· · Collectively about 500 bucks.           11· · · ·Q.· · Has your employer ever questioned
12· · · ·Q.· · When you say "collectively", does       12· ·your financial reputation?
13· ·that mean that you have multiple lenders for      13· · · ·A.· · Define --
14· ·your student loans?· Or are they through one      14· · · · · · ·Can you define "questioned".
15· ·entity?                                           15· · · ·Q.· · Sure.· I'll break it down to an even
16· · · ·A.· · They're two lenders.· Yes.              16· ·easier question.· Has your employer ever asked
17· · · ·Q.· · Who are the lenders?                    17· ·you any questions regarding your financial
18· · · ·A.· · Um, let's see.· Navient.· And what      18· ·background?
19· ·is the other one?                                 19· · · ·A.· · I'm going to say "yes", because I
20· · · · · · ·I can't think of the name.              20· ·believe that's covered under the background
21· · · ·Q.· · Okay.· In your allegations in your      21· ·check.· That's where they would have inquired.
22· ·complaint you allege that you deal with           22· · · ·Q.· · Okay.· When did this occur?

                                            Page 22                                               Page 24
·1· ·millions of dollars of transactions.· Can you     ·1· · · ·A.· · When I was hired.
·2· ·describe that for me, please.                     ·2· · · ·Q.· · And what did they ask you?
·3· · · ·A.· · I oversee millions of dollars of        ·3· · · ·A.· · They asked me to complete the
·4· ·transactions.                                     ·4· ·document giving permission to do a full
·5· · · ·Q.· · What does that mean?                    ·5· ·background investigation on me.· I had to
·6· · · ·A.· · That means that I deal with a high      ·6· ·include my Social Security Number.
·7· ·volume of revenue in which I have access to and   ·7· · · ·Q.· · Did you ever receive any feedback
·8· ·which I record and which I make payments from     ·8· ·from this particular background investigation?
·9· ·on behalf of the company I work for.              ·9· · · · · · ·(Witness nodded.)
10· · · ·Q.· · And you also state in your              10· · · · · · ·Can you answer "yes" or "no",
11· ·allegations that your employer requires good      11· ·please.
12· ·credit and a solid financial reputation.· How     12· · · ·A.· · Not to my knowledge.· Not that I can
13· ·often or by what measure does your employer       13· ·recall.
14· ·require you to have good credit?                  14· · · ·Q.· · Did anyone ever discuss your
15· · · ·A.· · Can you repeat the question.            15· ·financial history with you at your place of
16· · · ·Q.· · Sure.· Again, your allegations state    16· ·employment?
17· ·that your employer requires good credit and a     17· · · ·A.· · No.
18· ·solid financial reputation.· How does your        18· · · ·Q.· · Are you aware of your employer
19· ·employer judge your good credit?                  19· ·checking your credit at any time between
20· · · ·A.· · What I can say is that my position      20· ·November of 2016 and May of 2017?
21· ·requires a great deal of trust, and working in    21· · · · · · ·MR. GOLDSON:· Objection.
22· ·the field of finance your reputation, as far as   22· · · · · · ·MR. METCHO:· On what basis?


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·1· · · · · · ·MR. GOLDSON:· Asked and answered.       ·1· · · ·Q.· · Do you remember what you discussed?
·2· · · · · · ·MR. METCHO:· Objection noted.· You      ·2· · · ·A.· · I do.
·3· ·can answer the question if you're able.           ·3· · · ·Q.· · Can you give me a summary of what
·4· · · · · · ·THE WITNESS:· Can you repeat the        ·4· ·was discussed during the phone call.
·5· ·question.                                         ·5· · · ·A.· · Sure.· What was discussed was the
·6· ·BY MR. METCHO:                                    ·6· ·information on the collection letter that they
·7· · · ·Q.· · Sure.· Are you aware of any time        ·7· ·sent.· The letter summarized, indicated that
·8· ·between November of 2016 and May of 2017 of       ·8· ·they had received this debt and that I needed
·9· ·your employer checking your credit score?         ·9· ·to respond within 30 days.· If they hadn't
10· · · ·A.· · I'm not aware of what HR does. I        10· ·heard from me, they were going to assume that
11· ·cannot speak to the fact if they did or didn't.   11· ·it was mine, and that if it wasn't I should
12· ·I can just speak to the fact that I've given      12· ·reach out to them to clear up the matter.· So I
13· ·them permission to do so.                         13· ·called.
14· · · ·Q.· · So again, I'm the attorney for the      14· · · ·Q.· · Do you recall receiving any letters
15· ·defendant in this matter, Ability Recovery        15· ·from Ability?
16· ·Services.· Do you recall speaking with Ability    16· · · ·A.· · The two letters that I got in the
17· ·Recovery Services regarding any accounts?         17· ·mail.
18· · · ·A.· · I do.                                   18· · · ·Q.· · Okay.· When was the date of the
19· · · ·Q.· · When was the first time you spoke       19· ·first letter?· Do you remember approximately?
20· ·with Ability?                                     20· · · ·A.· · I believe they were in --
21· · · ·A.· · The first time I spoke with them was    21· · · · · · ·I believe they were 4 November 2016.
22· ·in 2016.· I think it was either --                22· ·And I remember, I say that specifically,

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·1· · · · · · ·I think it was November of 2016.        ·1· ·because I knew I had 30 days, which is why I
·2· · · ·Q.· · Did you contact Ability?· Or did        ·2· ·called quickly because I don't think I looked
·3· ·Ability contact you?                              ·3· ·at it until December.
·4· · · ·A.· · How do you define "contact"?            ·4· · · ·Q.· · Okay.· When you received that first
·5· · · ·Q.· · Did you call Ability?· Did Ability      ·5· ·letter did you send any letters back to
·6· ·call you?· What was the initiation of the         ·6· ·Ability?
·7· ·contact with Ability?                             ·7· · · ·A.· · I sent no letters to Ability.
·8· · · ·A.· · Ability sent me two letters.            ·8· · · ·Q.· · Okay.· So at no point did you send a
·9· · · ·Q.· · Okay.                                   ·9· ·letter to Ability disputing the debt?
10· · · ·A.· · I called in reference to letters I      10· · · ·A.· · No, I did not send them a letter to
11· ·received.                                         11· ·dispute the debt.· The letter indicated to
12· · · ·Q.· · Do you remember approximately when      12· ·call, so that's what I did.· I called to
13· ·you called Ability?                               13· ·dispute the debt.
14· · · ·A.· · I do.                                   14· · · ·Q.· · Did you send a letter to Ability to
15· · · ·Q.· · When was it?                            15· ·request verification of the debt?
16· · · ·A.· · It was the --                           16· · · ·A.· · I did not send a letter to Ability
17· · · · · · ·I believe it was in the middle of --    17· ·about the debt at all.· I called per what the
18· · · · · · ·It was in the middle of December of     18· ·letter instructed.
19· ·2016.                                             19· · · ·Q.· · Okay.· After receiving the letter
20· · · ·Q.· · Do you remember who you spoke with?     20· ·from Ability did you reach out to the credit
21· · · ·A.· · I don't remember the gentleman's        21· ·bureaus?
22· ·name.                                             22· · · ·A.· · I did.


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·1· · · ·Q.· · When was this?                          ·1· · · ·Q.· · My apologies.· And let me try to
·2· · · ·A.· · It was after the phone call in which    ·2· ·break it down for you.
·3· ·after indicating that none of the items on the    ·3· · · ·A.· · Great.
·4· ·letter had anything to do with me, not the        ·4· · · ·Q.· · So you had this conversation with
·5· ·Social Security Number, not the date of birth.    ·5· ·Ability regarding the debt and you allegedly
·6· ·The gentleman then indicated that --              ·6· ·not owing the debt, right?
·7· · · ·Q.· · The gentleman from who?· The credit     ·7· · · ·A.· · That is correct.
·8· ·bureaus?                                          ·8· · · ·Q.· · Okay.· At this point did you send
·9· · · ·A.· · The gentleman from Ability that I       ·9· ·any documentation to Ability regarding the
10· ·spoke to on the phone.                            10· ·debt?
11· · · · · · ·After talking to him, I said:· I got    11· · · ·A.· · I wasn't requested to do any of
12· ·this letter.                                      12· ·those things, so the answer to that question is
13· · · · · · ·He said, you know, they weren't sure    13· ·"no".· I did not send them a letter.· I think I
14· ·if it was mine.· They needed to confirm that it   14· ·said that before.· That was not the --
15· ·was.· I said it wasn't.· He mentioned a name.     15· · · · · · ·The nature of the letter was to give
16· ·It wasn't mine.· He mentioned a date of birth,    16· ·me instructions on how I was to dispute this
17· ·it wasn't mine.· He mentioned dependents, I       17· ·debt.· I followed the letter.· They said to
18· ·told him I have none.· I thought the matter was   18· ·call.· I called.· I talked to a gentleman.· He
19· ·settled.· He then indicated that he was going     19· ·shared some information to confirm that this
20· ·to report it to the credit bureau.· I asked:      20· ·was the same person.· None of the information
21· ·How is that possible when the letter indicated    21· ·he shared could confirm this was me.· I thought
22· ·that you got this information, you need to        22· ·it was done.· He then told me that he was going

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·1· ·confirm if it was correct.· I'm confirming that   ·1· ·to send it to --
·2· ·it's incorrect.                                   ·2· · · · · · ·He said he still was going to report
·3· · · · · · ·He indicated that he would still        ·3· ·it on my credit.· So I'm confused about how we
·4· ·report it to the credit bureaus.                  ·4· ·got to this place because the letter indicated
·5· · · ·Q.· · Report it how?· As disputed?            ·5· ·that calling and not being able to confirm the
·6· · · ·A.· · He said he would report it as if it     ·6· ·data was how you dispute it.
·7· ·was my debt, and I had --                         ·7· · · ·Q.· · At this point did you check your
·8· · · · · · ·It was my responsibility to go to       ·8· ·credit report?
·9· ·the credit bureaus to defend myself.              ·9· · · ·A.· · I believe I did check after the
10· · · ·Q.· · Okay.· Now, prior the this time,        10· ·call.
11· ·again, no documentation was sent by you to        11· · · ·Q.· · When was that?
12· ·either Ability or Pendrick or the credit          12· · · ·A.· · That was in December 2016.
13· ·bureaus?                                          13· · · ·Q.· · And was there any indication on your
14· · · ·A.· · I'm sorry.· You have to repeat that.    14· ·credit report of any information being reported
15· · · ·Q.· · Prior to this conversation with         15· ·by Ability?
16· ·Ability, after you had received the letters       16· · · ·A.· · Not at the time of the call.
17· ·from Ability --                                   17· · · ·Q.· · Okay.· When was the first time that
18· · · ·A.· · Okay.                                   18· ·you checked your credit report when you saw
19· · · ·Q.· · -- did you send any documentation to    19· ·information that was being report by Ability?
20· ·Ability to Pendrick or to the credit bureaus?     20· · · ·A.· · When I got a credit alert from my --
21· · · ·A.· · You're going to need to separate        21· · · · · · ·There's a --
22· ·those questions because it's confusing.           22· · · · · · ·I forget what you call it, but it's


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·1· ·a credit protection agency that kind of let's     ·1· · · · · · ·You can answer if you're able.
·2· ·you keep you alert of when things change in       ·2· · · · · · ·THE WITNESS:· Can you repeat the
·3· ·your credit.· And as per the conversation I had   ·3· ·question.
·4· ·with the gentleman from Ability, he did report    ·4· ·BY MR. METCHO:
·5· ·it and it did show up as me owing the debt.       ·5· · · ·Q.· · Sure.· Between November 2016 and May
·6· · · ·Q.· · When did you sign up for that           ·6· ·of 2017 did you have any discussions with
·7· ·particular service?                               ·7· ·anyone at your place of employment regarding
·8· · · ·A.· · I've had it for over --                 ·8· ·your credit history?
·9· · · · · · ·At that time over 2 years.              ·9· · · ·A.· · No.
10· · · ·Q.· · How often do you receive                10· · · ·Q.· · Between November 2016 and May of
11· ·notifications from that service?                  11· ·2017 were you denied any credit opportunities?
12· · · ·A.· · Anytime there's changes to my           12· · · ·A.· · State that question again.
13· ·credit.                                           13· · · ·Q.· · Sure.· Between November of 2016 and
14· · · ·Q.· · Why did you sign up for it?             14· ·May of 2017 were you denied any credit
15· · · ·A.· · I can't recall my thinking at the       15· ·opportunities?· For instance, did you attempt
16· ·time, but I believe there was --                  16· ·to open up a credit card and were denied?· Or
17· · · · · · ·I don't know.· I thought that was a     17· ·did you attempt to get a car loan and were
18· ·good thing to do at the time.                     18· ·denied?· Anything of that nature?
19· · · ·Q.· · Do you pay for it?                      19· · · ·A.· · From November to December I would
20· · · ·A.· · I do.                                   20· ·say "no".· January 2017 when this showed up on
21· · · ·Q.· · Okay.· When was the last time you       21· ·my credit I became very concerned about it
22· ·made a payment for the service?                   22· ·being there:· One, because it was inaccurate,

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·1· · · ·A.· · I can't recall.                       ·1· ·and I knew how important my credit is.
·2· · · ·Q.· · Do you still maintain the service?    ·2· · · · · · ·At that point I can't say that I
·3· · · ·A.· · I do maintain the service.            ·3· ·applied for any credit, but I didn't go out of
·4· · · ·Q.· · Are you aware of any time that your   ·4· ·my way to make any decisions relating to my
·5· ·employer noticed information on your credit     ·5· ·credit at that time because I believed that it
·6· ·report that was being reported by Ability?      ·6· ·was something small that we'd eventually get
·7· · · ·A.· · I cannot speak to what my job saw     ·7· ·past it and it wouldn't be an issue.
·8· ·that as --                                      ·8· · · · · · ·I don't know if that answers your
·9· · · · · · ·I'm not privy to that information.    ·9· ·question.
10· · · ·Q.· · Were you ever --                      10· · · ·Q.· · Do you remember how much the debt
11· · · · · · ·Between November of 2016 and May of   11· ·was for?
12· ·2017 were you reprimanded by your employer      12· · · ·A.· · I think it was $1500 --
13· ·regarding your credit history?                  13· · · ·Q.· · Okay.
14· · · ·A.· · I have never been reprimanded by my   14· · · ·A.· · -- or so.· Give or take.
15· ·employer.                                       15· · · ·Q.· · Do you own a car?
16· · · ·Q.· · Between November of 2016 and May of 16· · · ·A.· · I do.
17· ·2017 did you speak with anyone at your place of 17· · · ·Q.· · What kind of car do you own?
18· ·employment regarding your credit history?       18· · · ·A.· · A Saturn.
19· · · ·A.· · I think you asked that already.       19· · · ·Q.· · When was the last time you made a
20· · · ·Q.· · I'm asking again.                     20· ·payment towards the note on the car?
21· · · · · · ·MR. GOLDSON:· Objection.              21· · · ·A.· · I paid for my car in cash.· There
22· · · · · · ·MR. METCHO:· Noted.                   22· ·was never a note on it.


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·1· · · ·Q.· · Okay.· So you don't have a car          ·1· · · ·Q.· · And just give me a brief description
·2· ·payment, in other words?                          ·2· ·of what was discussed during that call.
·3· · · ·A.· · I do not.                               ·3· · · · · · ·MR. GOLDSON:· Objection.· I thought
·4· · · ·Q.· · Um, between -- it's a small             ·4· ·this was asked and answered.
·5· ·timeframe -- but November of 2016 and May of      ·5· · · · · · ·MR. METCHO:· Okay.· I just --
·6· ·2017 did you seek any credit?· Did you seek to    ·6· · · · · · ·Again, I'm just trying to get some
·7· ·open up a credit card?· Did you seek an auto      ·7· ·background information.
·8· ·loan?· Or anything of that sort?                  ·8· · · · · · ·MR. GOLDSON:· Just for the record.
·9· · · ·A.· · I considered purchasing a new car,      ·9· · · · · · ·MR. METCHO:· That's fine.
10· ·but did not due to this particular inaccurate     10· · · · · · ·You can answer if you're able.
11· ·information on my credit.                         11· · · · · · ·THE WITNESS:· Will you repeat the
12· · · ·Q.· · When was that?                          12· ·question.
13· · · ·A.· · It was around my birthday.              13· ·BY MR. METCHO:
14· · · ·Q.· · Which was when?                         14· · · ·Q.· · Sure.· When you spoke with Ability
15· · · ·A.· · March 13.                               15· ·in December of 2016 regarding the account and
16· · · ·Q.· · Did you still have the same car?        16· ·you allegedly not being responsible for the
17· · · ·A.· · I do.                                   17· ·account, what was discussed?
18· · · ·Q.· · And when did you purchase that car?     18· · · · · · ·Take your time.
19· · · ·A.· · I purchased that car, I think it was    19· · · ·A.· · Yeah, that's correct.
20· ·2000 --                                           20· · · · · · ·Sure.· What was discussed?
21· · · · · · ·March of 2016, I believe.               21· · · · · · ·We discussed the fact that I
22· · · ·Q.· · Okay.· And still to this day --         22· ·received two letters from them indicating that

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·1· ·we're now in February of 2018 -- you still have   ·1· ·there was --
·2· ·the same car?                                     ·2· · · · · · ·-- they received information
·3· · · ·A.· · I do.                                   ·3· ·indicating this was my debt, from their
·4· · · ·Q.· · You did not attempt to purchase         ·4· ·information that this belonged to me and that
·5· ·another car?                                      ·5· ·for me to confirm.· In doing so, I was to call.
·6· · · ·A.· · Not until this had been resolved.       ·6· ·And if they hadn't heard from me in 30 days
·7· · · · · · ·MR. GOLDSON:· Just real quick, I'm      ·7· ·they would assume that it was mine.· So I got
·8· ·going to need to take a really short break        ·8· ·on the phone, I called them, I said:· Hey, I
·9· ·sometime soon, just whenever is good for you      ·9· ·got this letter.· This isn't mine.
10· ·within the next like 10 or so minutes.            10· · · · · · ·They said:· Okay.
11· · · · · · ·MR. METCHO:· We can take a break now    11· · · · · · ·They asked me to indicate the
12· ·if you want.                                      12· ·reference number.· I gave the reference number.
13· · · · · · ·(Recess taken at 1:34 p.m.)             13· ·Then the gentleman asked follow-up questions:
14· · · · · · ·(Deposition resumed at 1:43 p.m.)       14· ·You know, they mentioned a date of birth, it
15· ·BY MR. METCHO:                                    15· ·wasn't mine; they mentioned a name, it wasn't
16· · · ·Q.· · Ms. Long, do you remember the first     16· ·mine; they mentioned dependents -- I think two
17· ·time you made a dispute to Ability regarding      17· ·different names -- I said I don't have any
18· ·the account?· In other words, when was the        18· ·dependents; they said okay.
19· ·first time you told Ability that you weren't      19· · · · · · ·Then the gentleman indicated that I
20· ·responsible for this particular account?          20· ·would have to take this up with the credit
21· · · ·A.· · When I made the phone call in           21· ·agency.· I was perplexed.· I said:· Wait. I
22· ·December.                                         22· ·called you within the timeframe to tell you it


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·1· ·wasn't mine.· All of the supporting               ·1· ·information being furnished by Ability?
·2· ·documentation that you've given me that you       ·2· · · ·A.· · I don't understand your question.
·3· ·have that you are --                              ·3· · · ·Q.· · All right.· Let me step back.
·4· · · · · · ·-- what you're saying are               ·4· · · · · · ·When was the first time you
·5· ·identifiers, I said they're not.· I don't --      ·5· ·recognized that Ability was furnishing
·6· ·they're not my name, my date of birth, I don't    ·6· ·information to the credit bureaus regarding the
·7· ·have any children.                                ·7· ·account at issue?
·8· · · · · · ·He then told me that I would have to    ·8· · · ·A.· · When I got an alert.
·9· ·take it up with the credit reporting agency. I    ·9· · · ·Q.· · Do you remember when that was?
10· ·then was confused.· I asked him to clarify:       10· · · ·A.· · It was in --
11· ·How was that possible when your letter stated     11· · · · · · ·It was in like a month later.· In
12· ·that you got this information, call to confirm,   12· ·January 2017.
13· ·I told you this isn't mine.· How can you still    13· · · ·Q.· · Okay.· And when was the last time
14· ·report it on my credit when all you have is my    14· ·you checked your credit report and saw that
15· ·name and my address, but none of the other        15· ·there was information being furnished by
16· ·information relates to that?                      16· ·Ability?
17· · · · · · ·He then said that he couldn't get       17· · · ·A.· · When was the last time that I saw --
18· ·into that, that my only recourse now was to       18· · · · · · ·I'm still not understanding what
19· ·take it up with my credit agency.· We went back   19· ·you're asking.
20· ·and forth.· He continued to say the same thing,   20· · · ·Q.· · Okay.· Let me try to rephrase it.
21· ·so I said:· Okay.                                 21· · · · · · ·When was the last time you checked
22· · · · · · ·And the next month I got an alert,      22· ·your credit report and saw on your credit
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·1· ·checked my credit.· The liability that I called   ·1· ·report that there was information that was
·2· ·him earlier before is now on my credit.           ·2· ·being furnished by Ability?
·3· · · ·Q.· · After that conversation did you have    ·3· · · ·A.· · Sometime in September in the Fall.
·4· ·any further conversations with Ability?           ·4· · · ·Q.· · Of what year?
·5· · · ·A.· · I did not.                              ·5· · · ·A.· · 2017.
·6· · · ·Q.· · Did you receive any additional          ·6· · · ·Q.· · Okay.· When was the last time you
·7· ·letters from Ability?                             ·7· ·checked your credit report?
·8· · · ·A.· · I did not.                              ·8· · · ·A.· · A couple weeks ago, a week and a
·9· · · ·Q.· · After that conversation did you         ·9· ·half ago.
10· ·contact the credit bureaus?                       10· · · ·Q.· · Is there still information being
11· · · ·A.· · I disputed it using, I think it was     11· ·furnished by Ability?
12· ·Experian.· Their site says they will send my      12· · · ·A.· · No.
13· ·dispute to all the other agencies.· So that's     13· · · ·Q.· · So you have referenced earlier that
14· ·what I did.                                       14· ·when you began your employment you had filled
15· · · ·Q.· · What happened as a result of that?      15· ·out some type of documentation more or less
16· · · ·A.· · They sent me correspondence, I think    16· ·giving your employer the ability to check your
17· ·it was via --                                     17· ·credit history, correct?
18· · · · · · ·You had to go back to the site and      18· · · ·A.· · I said that they had --
19· ·it indicated they had indicated this was my       19· · · · · · ·I gave them permission to do a
20· ·debt.                                             20· ·background check.
21· · · ·Q.· · When was the last time you checked      21· · · ·Q.· · Can you describe this particular
22· ·your credit report when you saw that there was    22· ·documentation for me.


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·1· · · ·A.· · It's a sheet that says you give them    ·1· ·positions?
·2· ·permission --                                     ·2· · · ·A.· · I got an official promotion in
·3· · · · · · ·You fill out your address, your         ·3· ·September of 2017.
·4· ·Social Security Number, and they're saying        ·4· · · ·Q.· · Did this particular position come
·5· ·you're giving us permission to run a background   ·5· ·with a salary increase?
·6· ·check on you.                                     ·6· · · ·A.· · It did.
·7· · · ·Q.· · After filling out this documentation    ·7· · · ·Q.· · Have you received salary increases
·8· ·did you receive any feedback from your            ·8· ·throughout your employment?
·9· ·employer?                                         ·9· · · ·A.· · Yes.
10· · · · · · ·MR. GOLDSON:· Objection.                10· · · ·Q.· · When was the last time you received
11· · · · · · ·MR. METCHO:· Basis?                     11· ·a salary increase?
12· · · · · · ·MR. GOLDSON:· Asked and answered.       12· · · ·A.· · September 2017.
13· · · · · · ·MR. METCHO:· Objection noted.           13· · · ·Q.· · So you allege in your complaint that
14· · · · · · ·You can answer if you're able.          14· ·you were leery of potentially losing your job
15· · · · · · ·THE WITNESS:· I was hired.              15· ·over this trade line information that was being
16· ·BY MR. METCHO:                                    16· ·reported.· Is that correct?
17· · · ·Q.· · Okay.· How long have you been at --     17· · · ·A.· · Repeat the question.
18· · · · · · ·And again, I may have asked this.       18· · · ·Q.· · Sure.· You allege in your
19· ·Just to refresh my memory, how long have you      19· ·complaint --
20· ·been at your current place of employment?         20· · · · · · ·Here, I can actually bring the
21· · · ·A.· · A year and 5 months.                    21· ·document up.· I can read it to you verbatim.
22· · · ·Q.· · During that time period have you        22· ·In Paragraph 57 you state that:· You suffered
                                            Page 46                                                       Page 48
·1· ·been reprimanded in any way?                      ·1· ·actual damages, economic damages, and damages
·2· · · · · · ·MR. GOLDSON:· Objection.                ·2· ·regarding credit damage, anxiety,
·3· · · · · · ·MR. METCHO:· Basis?                     ·3· ·sleeplessness, emotional distress from the
·4· · · · · · ·MR. GOLDSON:· Asked and answered.       ·4· ·prospect of job loss.
·5· · · · · · ·MR. METCHO:· You can --                 ·5· · · · · · ·What made you think that you were
·6· · · · · · ·Objection noted.                        ·6· ·going to lose your job over this?
·7· · · · · · ·You can answer if you're able.          ·7· · · · · · ·MR. GOLDSON:· Objection.
·8· · · · · · ·THE WITNESS:· No.                       ·8· · · · · · ·MR. METCHO:· Basis?
·9· ·BY MR. METCHO:                                    ·9· · · · · · ·MR. GOLDSON:· Form.
10· · · ·Q.· · During this particular time period      10· · · · · · ·MR. METCHO:· You can answer if
11· ·have you been promoted?                           11· ·you're able.
12· · · ·A.· · During what time period?                12· · · · · · ·THE WITNESS:· Repeat the question.
13· · · ·Q.· · Throughout your employment?             13· ·BY MR. METCHO:
14· · · ·A.· · Employment where?                       14· · · ·Q.· · Sure.· In Paragraph 57 you state
15· · · ·Q.· · At your current place of employment.    15· ·that you suffered actual damages, and one of
16· · · ·A.· · Yes.                                    16· ·these damages included a prospect of job loss.
17· · · ·Q.· · How many times?                         17· ·What made you think that Ability's attempt to
18· · · ·A.· · Once.                                   18· ·recover this debt was going to lead to you
19· · · ·Q.· · When was --                             19· ·losing your job?
20· · · · · · ·When did that occur?                    20· · · ·A.· · When I was hired my background
21· · · ·A.· · Define "promotion".                     21· ·information presented a different version than
22· · · ·Q.· · Did you obtain different employment     22· ·what this trade line was now representing.


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·1· ·This trade line was representing that I was       ·1· ·was furnishing on your credit report regarding
·2· ·irresponsible, I owed a debt and did not pay.     ·2· ·the debt, are you aware of anyone else seeing
·3· ·And all of that is inaccurate.                    ·3· ·this information?
·4· · · ·Q.· · Are you aware of anyone at your         ·4· · · ·A.· · What I can speak to is that anyone
·5· ·place of employment seeing this particular        ·5· ·who had access to, who had regular access to my
·6· ·trade line being reported?                        ·6· ·credit report could in fact see it.
·7· · · ·A.· · What I can speak to is that when I      ·7· · · ·Q.· · Are you aware of anyone seeing it?
·8· ·was hired I had given them permission to do a     ·8· · · ·A.· · I'm aware of them having the ability
·9· ·background check, I provided my Social Security   ·9· ·to access and see it.
10· ·Number.                                           10· · · ·Q.· · But are you aware of anyone seeing
11· · · ·Q.· · Did anyone at your place of             11· ·it?
12· ·employment bring this trade line information      12· · · ·A.· · I'm aware of them having the access
13· ·that was being reported by Ability to your        13· ·to see.· I can't speak to what other people do.
14· ·attention at any time?                            14· · · ·Q.· · It's a "yes" or "no" question.
15· · · ·A.· · No.                                     15· · · ·A.· · I can speak to them having the
16· · · ·Q.· · Did you lose your job?                  16· ·ability to access and see.
17· · · ·A.· · No.                                     17· · · ·Q.· · Was it ever brought to your
18· · · ·Q.· · You also allege in Paragraph 57 that    18· ·attention that anyone saw this information on
19· ·you had fear of hard earned money being taken     19· ·your credit report regarding the debt that was
20· ·away from you, although you just testified        20· ·being reported by Ability?
21· ·under oath that you received a promotion in       21· · · ·A.· · Define "brought to my attention".
22· ·2017?                                             22· · · ·Q.· · I'm asking the questions, ma'am.

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·1· · · ·A.· · I received a promotion                  ·1· · · ·A.· · I'm asking for clarity on the
·2· ·September 2017.· This was reported                ·2· ·question, sir.
·3· ·January 2017.                                     ·3· · · · · · ·MR. GOLDSON:· Objection.
·4· · · ·Q.· · Okay.                                   ·4· ·BY MR. METCHO:
·5· · · ·A.· · So from that time to that time I had    ·5· · · ·Q.· · Okay.· Was it ever brought to your
·6· ·no idea what could happen to me at that point.    ·6· ·attention that anyone saw this information that
·7· · · ·Q.· · Did you have any money taken away       ·7· ·was being furnished by Ability on your credit
·8· ·from you by your employer during that time        ·8· ·report?
·9· ·period?                                           ·9· · · ·A.· · I can speak to individuals having
10· · · ·A.· · Define "taken away".                    10· ·access to see.
11· · · ·Q.· · Was there a --                          11· · · ·Q.· · Again, it's a "yes" or "no"
12· · · · · · ·Did you lose salary?· Did your          12· ·question.
13· ·salary decrease during that time period?          13· · · ·A.· · I can speak to them having access to
14· · · ·A.· · No, it did not.                         14· ·see.
15· · · ·Q.· · You have a claim in your                15· · · ·Q.· · Did they see it?
16· ·complaint -- if I can find the particular         16· · · · · · ·MR. GOLDSON:· Objection.
17· ·paragraph -- it's Count 2 for defamation.· Are    17· · · · · · ·MR. METCHO:· Basis?
18· ·you aware of anyone other than yourself being     18· · · · · · ·MR. GOLDSON:· Asked and answered.
19· ·aware of this information that was being          19· · · · · · ·MR. METCHO:· I didn't get an answer
20· ·furnished by Ability on your credit report?       20· ·to the question.
21· · · ·A.· · Repeat the question.                    21· · · · · · ·MR. GOLDSON:· You've got plenty of
22· · · ·Q.· · Sure.· The information that Ability     22· ·answers to the question.


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·1· · · · · · ·MR. METCHO:· That's not an answer.      ·1· ·if that's not what you meant, please clarify.
·2· ·It's a "yes" or "no" question.                    ·2· · · ·Q.· · We'll move on.· That's fine.
·3· · · · · · ·MR. GOLDSON:· She's given her           ·3· · · · · · ·What types of inconvenience did you
·4· ·answer.                                           ·4· ·suffer as a result of Ability attempting to
·5· · · · · · ·MR. METCHO:· It's not an answer.        ·5· ·recover this debt?
·6· ·We'll issue additional written discovery on       ·6· · · ·A.· · Um, inconvenience of having to
·7· ·that question -- that's fine -- in the form of    ·7· ·prolong a purchase of a car, the inconvenience
·8· ·a request for admissions.                         ·8· ·of having the opportunity to refinance my house
·9· ·BY MR. METCHO:                                    ·9· ·if I chose to, the inconvenience of having to
10· · · ·Q.· · What types of economic damages did      10· ·freely move in the market without having to be
11· ·you suffer as a result of this collection         11· ·concerned about what inaccurate reporting --
12· ·activity?                                         12· · · · · · ·-- what options it would leave me.
13· · · ·A.· · Well, one, it presented loss of         13· · · ·Q.· · What do you mean by "options"?
14· ·opportunity.                                      14· · · ·A.· · Relating to, for example, let's say
15· · · ·Q.· · What opportunities did you lose?        15· ·buying a car.· An interest rate of 1.5 or an
16· · · ·A.· · Opportunities to purchase a new car     16· ·interest rate of 5.7.· Those are different
17· ·and get a discounted credit rate because this     17· ·options based on what I have consistently --
18· ·is a derogatory information.· If I had bought a   18· · · · · · ·I've done my very best to ensure
19· ·car in 2016 it would be an issue.· When I try     19· ·that I pay my debts on time.· That not only is
20· ·to buy one in 2017 now I have the possibility     20· ·a reflection of my financial responsibility,
21· ·of an increased interest rate that --             21· ·but my character.· So when you're making
22· · · ·Q.· · When did you try to purchase a car      22· ·financial decisions how they lend you money

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·1· ·in 2017?                                          ·1· ·depends on how you have previously handled
·2· · · ·A.· · I spoke to --                           ·2· ·money.· And this information being reported is
·3· · · · · · ·I was considering purchasing a car      ·3· ·inaccurate about how I handle money.
·4· ·on my birthday, as you asked previously.          ·4· · · ·Q.· · Did you speak financing during that
·5· · · ·Q.· · Okay.                                   ·5· ·particular time period?
·6· · · ·A.· · So you asked about economic damages.    ·6· · · ·A.· · As I spoke to the question earlier,
·7· ·I see that as a missed opportunity because I am   ·7· ·I indicated once the information was furnished
·8· ·now in a holding pattern of not being able to     ·8· ·I held off on pursuing options hoping that this
·9· ·make free economic decisions on my behalf         ·9· ·would be resolved quickly.
10· ·because of inaccurate reporting.                  10· · · ·Q.· · And it was resolved, correct?
11· · · ·Q.· · But this is no longer being reported    11· · · ·A.· · Define "resolved", because we're
12· ·on your credit report, correct?                   12· ·here today.· So what do you mean by "resolved"?
13· · · ·A.· · As of a couple weeks ago, no, I         13· · · ·Q.· · It was taken off your credit report,
14· ·didn't see it.                                    14· ·correct?
15· · · ·Q.· · So what's keeping you from buying a     15· · · ·A.· · Yes, it was.
16· ·car now?                                          16· · · ·Q.· · And when was that?
17· · · ·A.· · I haven't had the time.· But I          17· · · ·A.· · I checked my credit report a couple
18· ·believe your question was during that             18· ·of weeks ago, it was not there.
19· ·timeframe.· Did I misunderstand your question?    19· · · ·Q.· · And since that particular date have
20· · · ·Q.· · No, that's okay.                        20· ·you applied for any type of financing?
21· · · ·A.· · That's what you were saying.· I just    21· · · ·A.· · Not as of yet.
22· ·want to make sure I'm answering correctly.· So    22· · · ·Q.· · You allege in your complaint that


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·1· ·you had anxiety and sleeplessness.· When was     ·1· ·have something to do with your balance on your
·2· ·the last time you experienced these two          ·2· ·Sealy's card?
·3· ·attributes?                                      ·3· · · · · · ·MR. GOLDSON:· Objection.
·4· · · ·A.· · Last night preparing before I came     ·4· · · · · · ·MR. METCHO:· As to?
·5· ·to this deposition.                              ·5· · · · · · ·MR. GOLDSON:· Form.
·6· · · ·Q.· · What about prior to then?              ·6· · · · · · ·MR. METCHO:· You can answer if
·7· · · ·A.· · Let's see.· It depends on how          ·7· ·you're able.
·8· ·frequently I think about this.                   ·8· · · · · · ·THE WITNESS:· Repeat the question.
·9· · · ·Q.· · Your counsel had earlier handed me     ·9· ·BY MR. METCHO:
10· ·this document, which I'll hand to the Court      10· · · ·Q.· · Sure.· Is it possible that this --
11· ·Reporter and we'll mark this as Exhibit A.       11· · · · · · ·-- you received this notification
12· · · · · · ·(Exhibit 1 marked for                  12· ·due to the balance that's on your Sealy's card?
13· ·identification.)                                 13· · · ·A.· · I can't speak to that.· I don't
14· · · · · · ·Can you describe this document for     14· ·know.
15· ·me, please.                                      15· · · ·Q.· · Are you currently content with your
16· · · ·A.· · Sure.· It is a notification from       16· ·place of employment?
17· ·Mint.                                            17· · · ·A.· · Define "content".
18· · · ·Q.· · What's Mint?                           18· · · ·Q.· · Sure.· Are you happy with your work?
19· · · ·A.· · Mint is an app that I use to help      19· · · ·A.· · Yeah.· I thoroughly enjoy my work.
20· ·manage my finances.                              20· · · ·Q.· · Do you plan on staying there?
21· · · ·Q.· · In what way?                           21· · · ·A.· · Planning on staying?· What's that
22· · · ·A.· · Maintains my budgets, as well as       22· ·mean?

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·1· ·savings goals, as well as they keep me           ·1· · · ·Q.· · At your place of employment.
·2· ·up-to-date on my credit score change.            ·2· · · ·A.· · I'm not ready to try to answer that
·3· · · ·Q.· · When did you obtain this document?     ·3· ·10 years from now, 20 --
·4· · · ·A.· · I believe it was in the Fall of        ·4· · · · · · ·I can't speak to --
·5· ·2017.                                            ·5· · · ·Q.· · Within the next year.
·6· · · ·Q.· · Why wasn't this document produced      ·6· · · ·A.· · I can't speak to what I plan to do
·7· ·along with your discovery responses?             ·7· ·in the future.
·8· · · ·A.· · I can't speak to the date when, but    ·8· · · ·Q.· · Did this particular account or
·9· ·I know it was --                                 ·9· ·Ability's attempt to recover the account have
10· · · · · · ·It was in the Fall when I received     10· ·any effect whatsoever on your employment
11· ·it.                                              11· ·status?
12· · · ·Q.· · Is there a particular date on that     12· · · ·A.· · Repeat the question.
13· ·document?                                        13· · · ·Q.· · Sure.· Ability's attempts to recover
14· · · ·A.· · Not from what I can see.               14· ·this debt obligation at issue, did it have any
15· · · ·Q.· · Does that document state exactly why   15· ·type of effect on your employment status?
16· ·your alleged interest rate went up?              16· · · ·A.· · Ability's inaccurate reporting on my
17· · · ·A.· · It does not state why, it just         17· ·credit?
18· ·states that it did.                              18· · · · · · ·MR. GOLDSON:· Just, I'm going to put
19· · · ·Q.· · Had you applied for credit prior to    19· ·an objection on the record as to form.
20· ·when you received that document?                 20· · · · · · ·MR. METCHO:· Okay.· You can answer
21· · · ·A.· · Not that I can recall.                 21· ·if you're able.
22· · · ·Q.· · Could this particular notification     22· · · · · · ·THE WITNESS:· Repeat the question.


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·1· ·BY MR. METCHO:                                    ·1· · · · · · ·MR. METCHO:· You can ask if you're
·2· · · ·Q.· · Sure.· Ability's attempt to recover     ·2· ·able.
·3· ·the debt obligation at issue, did it have any     ·3· · · · · · ·You can answer if you're able.
·4· ·type of effect on your employment?                ·4· ·Excuse me.
·5· · · ·A.· · Ability's inaccurate reporting of       ·5· · · · · · ·THE WITNESS:· Repeat the question.
·6· ·the debt on my credit became an issue for me in   ·6· ·BY MR. METCHO:
·7· ·the sense that when I was hired that was not      ·7· · · ·Q.· · The information that --
·8· ·the credit reflection or the background           ·8· · · · · · ·-- regarding Ability's attempt to
·9· ·information they received and it was also         ·9· ·collect a debt is no longer on your credit
10· ·inaccurate, and now it's being presented and it   10· ·report, correct?
11· ·opened up to the possibility for an effect on     11· · · ·A.· · From my understanding, yes.
12· ·how I was viewed and my ability to keep their     12· · · ·Q.· · Okay.· Are you aware that probably
13· ·trust in handling their money.                    13· ·about a week ago myself on behalf of both
14· · · ·Q.· · You're not aware of anybody at your     14· ·Ability and Pendrick had issued to your counsel
15· ·place of employment seeing this information on    15· ·what's called an Offer of Judgment Pursuant to
16· ·your credit report, right?                        16· ·Federal Rule of Civil Procedure 68?
17· · · ·A.· · I can't speak to what they have done    17· · · ·A.· · Am I aware of --
18· ·with it.· I don't know.                           18· · · ·Q.· · Were you aware of that?
19· · · ·Q.· · And you had mentioned earlier that      19· · · ·A.· · Yes.
20· ·you've been getting salary raises throughout      20· · · ·Q.· · Okay.· And it's still your position
21· ·your employment, correct?                         21· ·today that you're not going to accept the Offer
22· · · ·A.· · I spoke that I had a promotion in       22· ·of Judgment?

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·1· ·September of 2017.                              ·1· · · · · · ·MR. GOLDSON:· Objection.
·2· · · ·Q.· · So it hasn't taken away from your     ·2· · · · · · ·MR. METCHO:· Basis?
·3· ·ability to work, correct?                       ·3· · · · · · ·MR. GOLDSON:· Form and privilege.
·4· · · ·A.· · Repeat the question.                  ·4· ·BY MR. METCHO:
·5· · · ·Q.· · It hasn't taken away --               ·5· · · ·Q.· · Okay.· Um, let me ask you this:
·6· · · · · · ·Ability's attempts to recover the     ·6· ·What are you looking for here?
·7· ·account at issue has not taken away from your   ·7· · · · · · ·MR. GOLDSON:· Objection.
·8· ·ability to make a leaving to earn a salary,     ·8· · · · · · ·MR. METCHO:· Basis?
·9· ·correct?                                        ·9· · · · · · ·MR. GOLDSON:· Form --
10· · · ·A.· · It's inaccurate reporting has         10· · · · · · ·MR. METCHO:· Okay.· You can answer
11· ·potentially threatened my ability to earn if I  11· ·if you're able.
12· ·chose to leave my job as I would then be        12· · · · · · ·MR. GOLDSON:· -- and harassment.
13· ·subject to the same background information, and 13· · · · · · ·MR. METCHO:· Harassment?
14· ·this information would be inaccurate and it     14· · · · · · ·MR. GOLDSON:· On the record, form
15· ·would be a reflection of my understanding of my 15· ·and harassment.
16· ·trustworthiness, particularly in a role in      16· ·BY MR. METCHO:
17· ·which I have access to large sums of money.     17· · · ·Q.· · You can answer.· You filed a lawsuit
18· · · ·Q.· · But it's no longer on your credit     18· ·against several defendants here.· What is your
19· ·report, right?                                  19· ·ultimate outcome of this litigation?
20· · · · · · ·MR. GOLDSON:· Objection.              20· · · ·A.· · I'm not sure.
21· · · · · · ·MR. METCHO:· Basis?                   21· · · · · · ·MR. METCHO:· Okay.· That's all I
22· · · · · · ·MR. GOLDSON:· Asked and answered.     22· ·have right now.


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·1· · · · · · · · · · ·EXAMINATION                     ·1· ·background.· It did not indicate that it was
·2· ·BY MR. MARCUS:                                    ·2· ·for a window of time.
·3· · · ·Q.· · I probably have about 5 minutes of      ·3· · · ·Q.· · But it was for the purposes of your
·4· ·questions.                                        ·4· ·application.· Is that correct?
·5· · · · · · ·Ms. Long, again, I'm Morgan Marcus.     ·5· · · ·A.· · It was the purpose of employment.
·6· ·I represent Pendrick.· Your current job you're    ·6· ·You were required to complete and pass before
·7· ·at Trusted Health Plans Incorporated, correct?    ·7· ·being hired.
·8· · · ·A.· · That is correct.                        ·8· · · · · · ·-- in a condition of hire.
·9· · · ·Q.· · And based upon your interrogatory       ·9· · · ·Q.· · And to your knowledge did they
10· ·responses that your attorney's provided to me,    10· ·provide --
11· ·it indicates that you started there, I believe,   11· · · · · · ·Did those documents have been
12· ·September of --                                   12· ·provided --
13· · · · · · ·-- September 12, 2016.· Does that       13· · · · · · ·Strike that.
14· ·sound accurate?                                   14· · · · · · ·You signed that document.· Is that
15· · · ·A.· · Yes.                                    15· ·correct?
16· · · ·Q.· · So when did you actually apply to       16· · · ·A.· · I did sign the document.
17· ·work at Trusted Health Plans Inc?                 17· · · ·Q.· · And did they provide you a copy of
18· · · ·A.· · That was June 2016.                     18· ·that document?· To your recollection.
19· · · ·Q.· · And you indicated earlier that you      19· · · ·A.· · Um, I can't recall.
20· ·provided --                                       20· · · ·Q.· · You indicated just now that one of
21· · · · · · ·-- that you signed a document, I        21· ·your concerns was about potentially if you have
22· ·believe you said, providing your employer the     22· ·to look for other jobs.· Have you looked for

                                            Page 66                                                Page 68
·1· ·ability to check your credit.· Is that correct?   ·1· ·any jobs since December of 2016?
·2· · · ·A.· · That is correct.                        ·2· · · ·A.· · I've --
·3· · · ·Q.· · And when exactly would you have         ·3· · · · · · ·I have been --
·4· ·signed that document?· Do you recall?             ·4· · · · · · ·I have checked in and out to see
·5· · · ·A.· · When I applied during my                ·5· ·what the job market looked like.· Yes.
·6· ·application --                                    ·6· · · ·Q.· · What do you mean by that?
·7· · · ·Q.· · Would that have been --                 ·7· · · ·A.· · I've looked at job posting sites. I
·8· · · ·A.· · -- process.                             ·8· ·have looked at what my skill set earning
·9· · · ·Q.· · I'm sorry for interrupting you.         ·9· ·potential was during that time.
10· · · · · · ·So that would have been June of         10· · · ·Q.· · And have you applied for any jobs
11· ·2016?                                             11· ·during that time period?
12· · · ·A.· · That's correct.                         12· · · ·A.· · I had, yes.
13· · · ·Q.· · And if you can recall the specific      13· · · ·Q.· · And where was that to?
14· ·document that you signed, did it give them the    14· · · ·A.· · Several.· I can't list them all.
15· ·ability to only check your credit report during   15· · · ·Q.· · When would that have happened?
16· ·the application process?                          16· · · ·A.· · That was back in, I would say, May
17· · · ·A.· · I can't recall.                         17· ·of 2017.
18· · · ·Q.· · Did it give them the ability to         18· · · ·Q.· · And you submitted applications.· Is
19· ·continuously check your credit report?            19· ·that what you're saying?
20· · · ·A.· · It gave them permission.· I can't       20· · · ·A.· · That is correct.
21· ·speak to --                                       21· · · ·Q.· · You don't remember any of these
22· · · · · · ·It gave them permission to check my     22· ·companies that you submitted applications to?


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·1· · · ·A.· · One was for sure was Bond.· It was a    ·1· · · ·A.· · Define "directly".
·2· ·healthcare company in Columbia.· And they         ·2· · · ·Q.· · Did you ever receive any mailing
·3· ·request that I give permission to --              ·3· ·that came specifically from Pendrick, and not
·4· · · · · · ·-- for not just a background, but       ·4· ·from some other agency?
·5· ·they specified a credit check.                    ·5· · · ·A.· · I received a letter from Ability on
·6· · · ·Q.· · To your knowledge did they do a         ·6· ·behalf of Pendrick.· I don't know if that's
·7· ·credit check?                                     ·7· ·considered direct, but that's what I received.
·8· · · ·A.· · I'm not sure.· I wasn't selected for    ·8· · · ·Q.· · Other than the letters that you
·9· ·the job.                                          ·9· ·received from Ability, did you receive anything
10· · · ·Q.· · Any other companies that you            10· ·else?
11· ·submitted applications to?                        11· · · ·A.· · No.
12· · · ·A.· · None that I can recall.                 12· · · ·Q.· · You indicated earlier that you have
13· · · ·Q.· · What was this company called?· Bond?    13· ·three credit cards.· Since December --
14· · · ·A.· · Bond.· I can't think of the name. I     14· · · · · · ·Have you had those three same credit
15· ·think it was --                                   15· ·cards since December 2016?
16· · · · · · ·It was a Catholic healthcare company    16· · · ·A.· · Yes.
17· ·in Columbia.· I think it was Bond SE something.   17· · · ·Q.· · I believe it was Chase, Barclay's
18· ·I can't think of the name.· It was a different    18· ·and Sealy's, you said?
19· ·name.· I can't remember.                          19· · · ·A.· · That's correct.
20· · · ·Q.· · And what was the position that you      20· · · ·Q.· · So continuously from December 2016
21· ·were applying for?                                21· ·to today you've had those three cards, correct?
22· · · ·A.· · I believe it was --                     22· · · ·A.· · That's correct.

                                            Page 70                                                Page 72
·1· · · · · · ·I believe it was a Controller role      ·1· · · ·Q.· · Other than that you haven't had any
·2· ·or a Finance Manager role.                        ·2· ·other cards?
·3· · · ·Q.· · And did they give you any reason --     ·3· · · ·A.· · Not that I can recall.
·4· · · · · · ·Well, strike that.                      ·4· · · ·Q.· · Have you ever missed any payments on
·5· · · · · · ·You submitted your documents to         ·5· ·those cards?
·6· ·them, and did they bring you in for an            ·6· · · ·A.· · No.
·7· ·interview?                                        ·7· · · ·Q.· · Have you ever been --
·8· · · ·A.· · They did not.                           ·8· · · · · · ·On any debt have you ever missed a
·9· · · ·Q.· · And did they give you any reason why    ·9· ·payment on any debt?· Not just those three
10· ·you weren't selected?                             10· ·cards, any debt.
11· · · ·A.· · They did not.                           11· · · ·A.· · In what time period?
12· · · ·Q.· · Ms. Long, you never had any direct      12· · · ·Q.· · Ever.
13· ·contact with Pendrick, right?                     13· · · ·A.· · I'm sure when I was in college.
14· · · ·A.· · What do you define as "direct"?         14· · · ·Q.· · And which debt was it?· If you have
15· · · ·Q.· · Did you ever have any telephone         15· ·any idea.
16· ·conversations with Pendrick directly?             16· · · ·A.· · I don't know.
17· · · ·A.· · No.                                     17· · · ·Q.· · You think you may have missed one in
18· · · ·Q.· · Did you ever send any written           18· ·college?
19· ·communications directly to Pendrick?              19· · · ·A.· · You said "late".
20· · · ·A.· · No.                                     20· · · ·Q.· · I'm sorry.· Say that one more time.
21· · · ·Q.· · Did you ever receive anything           21· · · ·A.· · You said "late".
22· ·directly from Pendrick?                           22· · · ·Q.· · Yes.


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·1· · · ·A.· · Yeah, I'm sure I was late on a        ·1· · · ·A.· · I can't recall.
·2· ·payment.· This was long before banks did the    ·2· · · ·Q.· · Do you recall what the initial
·3· ·payments for you.· This was when you actually   ·3· ·interest rate was on the Chase card?
·4· ·had to mail stuff in.                           ·4· · · ·A.· · No, I do not.
·5· · · ·Q.· · Have you ever defaulted on any debt?  ·5· · · ·Q.· · Your attorneys provided the document
·6· · · ·A.· · Define "default".                     ·6· ·that we've titled Long 1, which is in front of
·7· · · ·Q.· · Made a payment past a payment due     ·7· ·you.
·8· ·date.                                           ·8· · · ·A.· · Uh-huh.
·9· · · ·A.· · So would that be considered late?     ·9· · · ·Q.· · It indicates that your interest rate
10· ·Or is that considered default?                  10· ·was 27.99 percent at some point.· Do you know
11· · · ·Q.· · Well, I think it depends on your      11· ·when it started --
12· ·cardholder agreement.· But have you made a      12· · · · · · ·-- when it went to 27.99 percent?
13· ·payment past the payment due date that you      13· · · ·A.· · No, I do not recall.
14· ·negotiated with whatever entity that you got    14· · · ·Q.· · I want to provide you a document
15· ·the credit from?                                15· ·that your attorney provided to me.· It's
16· · · ·A.· · Depending what time period are we     16· ·plaintiff's production Bates labeled 100. I
17· ·talking about?                                  17· ·want you to take a second to review that, Ms.
18· · · ·Q.· · Ever.                                 18· ·Long.
19· · · ·A.· · I'm sure I did.                       19· · · · · · ·For the record, why don't we mark
20· · · ·Q.· · And it's your position that you       20· ·that as Long 2.
21· ·never missed a payment with those three ones we 21· · · · · · ·(Exhibit 2 marked for
22· ·talked about -- Chase, Barclay's and Sealy's?   22· ·identification.)

                                                Page 74                                                        Page 76
·1· · · ·A.· · That is correct.                           ·1· · · · · · ·Ms. Long, do you recognize this
·2· · · ·Q.· · When did you get the Chase card?           ·2· ·document?· Do you know what this document is?
·3· · · ·A.· · I can't recall that.· That's               ·3· · · ·A.· · It is --
·4· ·probably my oldest credit card.                      ·4· · · · · · ·It looks like a snapshot of my
·5· · · ·Q.· · Has it been more than 5 years?             ·5· ·credit report for my Chase card from
·6· · · ·A.· · I would say so, probably.· I can't         ·6· ·TransUnion.
·7· ·specify the date.· I don't know.                     ·7· · · ·Q.· · And the top left indicates this was
·8· · · ·Q.· · Do you know what the credit limit is       ·8· ·from April 26, 2017.· Is that correct?
·9· ·on your Chase credit card?                           ·9· · · ·A.· · That is also correct.
10· · · ·A.· · In terms of what time period?              10· · · ·Q.· · And it's showing --
11· · · ·Q.· · December 2016 'til May of --               11· · · · · · ·Is this the Chase card that we've
12· · · · · · ·-- I think May of 2017.                    12· ·been talking about?
13· · · ·A.· · I think it was 1600.                       13· · · ·A.· · Yes.
14· · · ·Q.· · And have you ever gone above your          14· · · ·Q.· · And it shows the usage is
15· ·credit limit --                                      15· ·107 percent.· Is that correct?
16· · · ·A.· · Yes.                                       16· · · ·A.· · That's what it says.· Yes.
17· · · ·Q.· · -- during that time period?                17· · · ·Q.· · Okay.· Since the Ability trade line
18· · · ·A.· · During that time period?· I can't          18· ·was reported, have you had a conversation with
19· ·recall.                                              19· ·anyone at your current employment regarding the
20· · · ·Q.· · And when I asked you if you had ever       20· ·trade line?
21· ·gone above that credit limit on that card, you       21· · · ·A.· · I think I answered this, but do I
22· ·indicated the answer was "yes"?                      22· ·answer it for your response?


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·1· · · ·Q.· · I don't believe it was answered, but           ·1· · · · · · ·DEPOSITION ERRATA SHEET

·2· ·if it has been then the question is being                ·2· ·Our Assignment No. J1529142

·3· ·restated.                                                ·3· ·Case Caption:

·4· · · ·A.· · Can you repeat the question.                   ·4· ·Crystal Long

·5· · · ·Q.· · Since --                                       ·5· ·vs.

·6· · · · · · ·Why don't we have the Court Reporter           ·6· ·Pendrick Capital Partners, II, LLC, et al

·7· ·repeat it so we make sure she can state it               ·7

·8· ·correctly.                                               ·8

·9· · · · · · ·(Court Reporter read back.)                    ·9· · · · DECLARATION UNDER PENALTY OF PERJURY

10· · · ·A.· · I've not had any conversations about           10· · · I declare under penalty of perjury that I

11· ·it --                                                    11· ·have read the entire transcript of my

12· · · · · · ·-- this trade line with my current             12· ·Deposition taken in the captioned matter or the

13· ·employer.                                                13· ·same has been read to me, and the same is true

14· · · ·Q.· · And have you been provided with any            14· ·and accurate, save and except for changes

15· ·documents from your current employer indicating          15· ·and/or corrections, if any, as indicated by me

16· ·that they have reviewed your credit report?              16· ·on the DEPOSITION ERRATA SHEET hereof, with the

17· · · ·A.· · I have received no documents.                  17· ·understanding that I offer these changes as if

18· · · · · · ·MR. MARCUS:· That's all I have.                18· ·still under oath.

19· · · · · · ·MR. GOLDSON:· Just for the record,             19

20· ·Long 1 and Long 2 are both marked confidential,          20· ·Signed on the________day of ____________, 2018.

21· ·and we do intend to mark portions of the                 21· · ·________________________________

22· ·deposition relating to personal information,             22· · ·Crystal M. Long


                                                    Page 78                                                Page 80
                                                              ·1· · · · · · · DEPOSITION ERRATA SHEET
·1· ·financial and other personal information, as
                                                              ·2· ·Page No.______ Line No.______ Change to:______
·2· ·confidential on this deposition as well, but
                                                              ·3· ·______________________________________________
·3· ·that's it.· I don't have any questions.
                                                              ·4· ·Reason for change:____________________________
·4· · · · · · ·Read and sign.
                                                              ·5· ·Page No.______ Line No.______ Change to:______
·5· · · · · · ·MR. METCHO:· Regular.
                                                              ·6· ·______________________________________________
·6· · · · · · ·MR. GOLDSON:· Copy, yes.
                                                              ·7· ·Reason for change:____________________________
·7· · · · · · ·MR. MARCUS:· I'll hold out for now.
                                                              ·8· ·Page No.______ Line No.______ Change to:______
·8· · · · · · ·(Deposition concluded at 2:24 p.m.)
                                                              ·9· ·______________________________________________
·9
                                                              10· ·Reason for change:____________________________
10
                                                              11· ·Page No.______ Line No.______ Change to:______
11
                                                              12· ·______________________________________________
12
                                                              13· ·Reason for change:____________________________
13
                                                              14· ·Page No.______ Line No.______ Change to:______
14
                                                              15· ·______________________________________________
15
                                                              16· ·Reason for change:____________________________
16
                                                              17· ·Page No.______ Line No.______ Change to:______
17
                                                              18· ·______________________________________________
18
                                                              19· ·Reason for change:____________________________
19
                                                              20
20
                                                              21· ·SIGNATURE________________________DATE:________
21
                                                              22· · · · · · · · Crystal M. Long
22

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·1· · · · · · · DEPOSITION ERRATA SHEET

·2· ·Page No.______ Line No.______ Change to:______

·3· ·______________________________________________

·4· ·Reason for change:____________________________

·5· ·Page No.______ Line No.______ Change to:______

·6· ·______________________________________________

·7· ·Reason for change:____________________________

·8· ·Page No.______ Line No.______ Change to:______

·9· ·______________________________________________

10· ·Reason for change:____________________________

11· ·Page No.______ Line No.______ Change to:______

12· ·______________________________________________

13· ·Reason for change:____________________________

14· ·Page No.______ Line No.______ Change to:______

15· ·______________________________________________

16· ·Reason for change:____________________________

17· ·Page No.______ Line No.______ Change to:______

18· ·______________________________________________

19· ·Reason for change:____________________________

20

21· ·SIGNATURE:______________________DATE__________

22· · · · · · · · Crystal M. Long


                                              Page 82
·1· · · · · · ·CERTIFICATE OF NOTARY PUBLIC
·2· · · · · ·I, Terry L. Bradley, the officer before
·3· ·whom the foregoing deposition was taken, do
·4· ·hereby certify that the witness whose testimony
·5· ·appears in the foregoing deposition was duly
·6· ·sworn by me; that the testimony of said witness
·7· ·was taken by me in shorthand and thereafter
·8· ·reduced to computerized transcription under my
·9· ·direction; that said deposition is a true
10· ·record of the testimony given by said witness;
11· ·that I am neither counsel for, related to, nor
12· ·employed by any of the parties to the action in
13· ·which this deposition was taken; and further,
14· ·that I am not a relative or employee of any
15· ·attorney or counsel employed by the parties
16· ·hereto, nor financially or otherwise interested
17· ·in the outcome of the action.
18
· · · · · · · · · · · ____________________________
19· · · · · · · · · · Notary Public in and for
· · · · · · · · · · · the State Of Maryland
20
21· ·My Commission expires:· November 15, 2019
22



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